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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION



 Luminati Networks Ltd.,

             Plaintiff,                                Civil Action No.
                                                     2:18-cv-00299-JRG
             v.

 UAB Tesonet and UAB Metacluster LT,

             Defendants.




                   DEFENDANTS’ SUR-REPLY TO LUMINATI’S
                  MOTION FOR PARTIAL SUMMARY JUDGMENT




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        Luminati filed a nine-page Motion for Partial Summary Judgment (ECF No. 214

 (“MSJ”)) which included less than 1.5 pages of an Argument section and was based entirely on

 Luminati’s Motion to Strike (“MTS”) certain portions of Dr. Freedman’s Expert Report. MSJ at

 1, 8. Teso’s Opposition to Luminati’s MTS (ECF No. 249 (“MTS Opp.”)), and its MSJ Opposi-

 tion (ECF No. 251 (“MSJ Opp.”)) which incorporated the same, showed that Luminati misrepre-

 sented Dr. Freedman’s analysis and that its MTS should be denied. Rather than accept that its

 MSJ should be defeated for the same reasons—especially given the fact that Luminati expressly

 premised its MSJ on its MTS—Luminati has now filed a Reply (ECF No. 263) in support of its

 MSJ that, at ten pages, is one page longer than its underlying MSJ brief and five pages longer

 than the Local Rules permit (absent leave of Court).1

        Teso does not seek to strike Luminati’s Reply, but points out this incongruity to show

 that, by filing a lengthy Reply, Luminati now appears to pretend that its summary judgment mo-

 tion was something other than a simple tag-along motion to its MTS. For example, Luminati now

 chastises Teso for filing a short opposition to the MSJ rather than using “30 pages” (Reply at 2),

 even though Teso fully and completely controverted Luminati’s MTS and, hence, the MSJ. The

 fact is that Luminati’s MSJ must fail because Luminati’s MTS fails, and Luminati’s Reply can-

 not change that.

        A.      Luminati Continues to Ignore Dr. Freedman’s Obviousness Combinations

        Teso showed the detailed obviousness and enablement analysis conducted by Dr. Freed-

 man in both the body of his Report and in his individual claim charts. MTS Opp. at 2-9. In so

 doing, Teso showed that Luminati grossly mischaracterized Dr. Freedman’s analysis, including




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  Local Rule CV-7(a)(2) specifies that motions for partial summary judgment are non-dispositive
 motions, for which a party should file a reply brief of five pages or less absent leave of Court.
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 by arguing that Dr. Freedman’s claim charts were strictly limited to anticipation and that Dr.

 Freedman allegedly had not disclosed any obviousness combinations. Id. at 10-11.

        In its Reply, Luminati argues that it is insufficient to argue that “any combination of an-

 ticipatory references will fill any gaps in any other such reference,” citing to Select Comfort

 Corp. v. Tempur Sealy Int’l, Inc., 14-CV-245, 2015 WL 12781255, at *2 (D. Minn. Nov. 30,

 2015). Select Comfort required the defendant to identify (i) “each of the elements missing in the

 primary reference of each combination,” (ii) “each secondary reference that supplied the missing

 element,” and (iii) “where in each secondary reference the missing element was found.” Id. at *2.

        This is precisely what Dr. Freedman did. To use a specific example,2 Dr. Freedman stat-

 ed, at paragraphs 65-66, his opinion that Shribman rendered obvious claim 94, which concerns a

 device being “randomly selected out of the devices in the group.” The portion of the Shribman

 chart (Appx. C at C-31) for claim 94 explains (i) the relevant disclosure in Shribman regarding

 the selection of devices out of a group, (ii) that it is obvious to select items randomly as one

 means of selection, including as shown by the patentees’ admissions about random selection, and

 (iii) that both Prince and CoralCDN—which, like Shribman, also concern the usage of proxies—

 teach random selection of devices, which Dr. Freedman specifically shows in the Prince and

 CoralCDN claim charts. Dr. Freedman points to the similarity of subject matter and similarity of

 proposed benefits of the references, as well as to the description in the body of his report, as sup-

 porting the motivation to combine Shribman with Prince or CoralCDN. Freedman Report, Ex. C

 at C-32; see also MTS Opp. at 2-9. As explained in Teso’s Opposition, Dr. Freedman also con-

 ducted a similarly detailed obviousness analysis for each claim limitation alleged to be anticipat-

 ed by a reference, if the limitation is deemed not to be anticipated. Dr. Freedman showed which


 2
   Dr. Freedman identifies in his report each specific claim that he opines is rendered obvious (ra-
 ther than anticipated) by any reference, at paragraphs 57, 66, 75, 84, 93, 102, and 112.
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 references would be combined, to the extent that he asserted an obviousness combination. See

 MTS Opp. at 6-9 (providing examples).

        Select Comfort therefore supports the sufficiency of Dr. Freedman’s opinions. Luminati’s

 citation to UltimatePointer, LLC v. Nintendo Co. is similarly misplaced. In UltimatePointer, the

 expert “simply state[d] that the lack of a ‘direct pointing device’ limitation” in a prior art refer-

 ence did not preclude a finding of obviousness because “one skilled in the art would have readily

 recognized at the time of the alleged invention that [the reference] could easily be modified or

 configured to be a direct pointing device.” 14-CV-0865, 2014 WL 7340545, at *6 (W.D. Wash.

 Dec. 22, 2014). Therefore, the expert, unlike Dr. Freedman, did not provide any references to be

 combined to arrive at the limitation, or any motivation to combine. In Godo Kaisha, which Lu-

 minati also cites, the expert “fail[ed] to identify which specific claim elements he believe[d]

 would be obvious” and instead vaguely opined that a reference would render a claim obvious if it

 did not anticipate. 16-CV-134, 2017 WL 2839493, at *1. In contrast, Dr. Freedman meticulously

 pointed out each and every claim limitation that would be obvious (to the extent not deemed an-

 ticipated) and the express reasons therefor, as explained in Teso’s Opposition.

        B.      Luminati Continues to Confuse Dr. Freedman’s                       Single-Reference
                Obviousness Analysis and His Combination Analysis

        Teso previously explained that Dr. Freedman has both single-reference obviousness and

 obviousness combination opinions, which Luminati ignored. MTS Opp. at 10-13. With respect to

 the obviousness combinations, Dr. Freedman applied four references for the ’044 patent and four

 references for the ’866 patent. See, e.g., id. at 6-9. In footnote 2 of its Reply, Luminati misrepre-

 sents Dr. Freedman’s analysis by suggesting that he proposes an actual combination of Prince

 with three references, or any of more than 20 prior art admissions by the patentees. Reply at 2

 n.2. Luminati therefore falsely concludes that Dr Freedman is proposing “literally hundreds or


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 more” potential combinations. Id.

        These misrepresentations appear to be caused by Luminati’s continued failure to under-

 stand the difference between single-reference and combination obviousness analyses. Luminati’s

 footnote 2 concerns the Prince chart, but Teso explained in its Opposition (with respect to

 Prince) that Dr. Freedman specifically explains how Prince could be combined with either

 Shribman, Jacobsson, or CoralCDN with respect to their teachings regarding, for example, claim

 limitation 81(d). MTS Opp. at 11-12 (referencing Freedman Rep. Ex. A at A-8). Dr. Freedman

 separately discussed certain specific admissions by the patentees that showed the knowledge of a

 POSA relating to claim limitation 81(d). Freedman Rep., Ex. A at A-7. However, Dr. Freedman

 never in any of his charts proposes any boundless obviousness combination of twenty refer-

 ences, as Luminati falsely states in footnote 2. Instead, he addresses certain specific combina-

 tions or, for the purposes of single-reference obviousness, he explains the specific patentees’

 admissions he relies on to further show the knowledge of a POSA and why certain limitations

 would have been obvious. See MTS Opp. at 11-12 (providing exemplary references to claim lim-

 itations 81(b) and 81(d) of Appendix A). But he does not, for any claim, assert a laundry list of

 “hundreds” of combinations.

        C.      Luminati Simply Disagrees With Dr. Freedman’s Motivations to Combine

        Teso showed in its Opposition the many ways that Dr. Freedman explained a POSA’s

 motivations to combine the references that he raised for any particular claim limitation. MTS

 Opp. at 3-9. For example, the references that Dr. Freedman seeks to combine teach nearly identi-

 cal subject matter—either obtaining content by a client device from a target server using proxy

 devices or using multiple devices or proxies to obtain slices of content for a requesting cli-

 ent/user, so that the content can be constructed from the slices. See id. Further, the references

 discuss substantially similar benefits to be obtained by usage of each of their teachings. See id.
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 When one references this disclosure in view of Dr. Freedman’s careful, and particularized, ex-

 planations of the patentees’ admissions and the general knowledge of a POSA, as well as his dis-

 cussions of BitTorrent and the knowledge of content on origin servers, one can see that Dr.

 Freedman’s opinions are more than sufficient, and are reliable and helpful. See id.

        D.      Luminati Concedes That the Technology At Issue is Simple

        To be clear, the Court should not strike any portion of Dr. Freedman’s expert report for

 all of the reasons explained in Teso’s Oppositions to the MTS and MSJ. However, even if the

 Court strikes some portion of Dr. Freedman’s expert report regarding obviousness, Luminati’s

 Reply does not appear to contest the fact that this case concerns basic and easily understandable

 technology (Reply at 8-9), which Teso showed in its Opposition. MSJ Opp. at 4-5. In such a cir-

 cumstance, the jury can assess the obviousness case without any expert testimony. See id.

        Luminati’s only response is to again argue the fiction that Teso has not shown any “spe-

 cific obviousness combination[s]” or any motivation to combine. Reply at 9. This is simply false.

 Dr. Freedman’s Report specifically described his proposed obviousness combinations and the

 motivations for a POSA to combine them. MTS Opp. at 2-11. Again, the Court should permit Dr.

 Freedman to present his obviousness combinations to the jury. But even if the Court deems his

 obviousness discussion as an insufficient expert disclosure, a jury is perfectly capable of weigh-

 ing the obviousness combinations that are identified in Dr. Freedman’s Report. Wyers v. Master

 Lock Co., 616 F.3d 1231, 1242 (Fed. Cir. 2010).

        E.      The Court Should Not Grant Summary Judgment as to Enablement

        Luminati’s MSJ regarding enablement is solely dependent on its Motion to Strike. MSJ at

 9. Teso showed in its Opposition that Dr. Freedman’s enablement analysis was sufficient and

 included analysis of the Wands factors. MTS Opp. at 14-15.



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        Dr. Freedman’s non-enablement argument as to claim 81 is not the same as definiteness,

 and it does not depend on “an unsupported claim construction argument.” Reply at 10. Teso did

 argue that Luminati’s claim 81 was indefinite, but, even if definite, Luminati’s overly broad

 claim is separately subject to attack if its full scope is not enabled. See In re Wands, 858 F.2d

 731, 737 (Fed. Cir. 1988) (stating “breadth of claims” as enablement factor). Enablement and

 definiteness are two separate issues. Teso is not rearguing any portion of claim construction, but,

 instead, it accepts the Court’s claim construction—including the holding that the preamble is

 limiting—and shows why the full scope of the claim is not enabled. MTS Opp. at 14-15.

        As Teso pointed out, the Court acknowledged the possibility of an enablement challenge

 in the Claim Construction Order which upheld the definiteness of claim 81. Opp. at 15. And with

 respect to the “from the second server” issue (which is just one of Dr. Freedman’s enablement

 arguments), Dr. Freedman explained how the specification fails to teach a POSA how to practice

 the full claim scope without undue experimentation, including because of its lack of guidance

 and the inconsistent teachings in the specification. Opp. at 15 (citing paragraphs 175-183 of Dr.

 Freedman’s Report).3

        Further, Luminati argues that the “second server” is “simply a web server” and that “no

 possible undue experimentation” could be required. Reply at 3. This reveals that Luminati just

 disagrees with Dr. Freedman’s conclusions. Luminati’s factual disagreement with Dr. Freedman

 should be resolved at trial, not in the context of a motion to strike or summary judgment motion.



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   Luminati’s citation to Nanology Alpha LLC v. Witec Wissenschaftliche Instrumente Und Tech-
 nologie Gmbh is unavailing. Reply at 10. In Nanology Alpha, the expert did not address any of
 the Wands factors and did not show what was missing from the specification. 16-CV-00445,
 2018 WL 4289342, at *6 (E.D. Tex. July 11, 2018). Dr. Freedman applies the Wands factors, and
 explains that the specification fails to teach how the “second device” must obtain content “from a
 second server” to satisfy claim 81 as construed. Opp. at 14-15.


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        F.      Luminati’s “Response to Statement of Facts” is Misleading and Inaccurate

        Luminati included in its Reply a “Response to Statement of Facts” that advances Lumina-

 ti’s incorrect version of the facts that have already been discussed at length in Teso’s MTS Opp.

 and above. Luminati continues to assert that “[t]here is no obviousness chart” or that Dr. Freed-

 man did not identify “any specific combination” (Reply at 1-2), even though Teso showed that

 Dr. Freedman provided extensive obviousness analysis in his claim charts, including combina-

 tions of specific prior art references. MTS Opp. at 6-9, 10-13. Luminati also continues to assert

 that the paragraphs that it quoted in the MSJ constituted “the entire discussion of obviousness” as

 to at least one reference (Reply at 2), even though Luminati clearly omitted significant discus-

 sion not only from the body of Dr. Freedman’s Report but also from his claim charts. MSJ Opp.

 at 2; MTS Opp. at 2-9.

        Luminati’s continued insistence that Teso “never present[s] a single instance of showing

 how an anticipation reference lacks a limitation or how another reference would be used to modi-

 fied [sic] the primary reference” (Reply at 2) is wrong as shown above in Section A and at pages

 6-13 of Teso’s MTS Opp.

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        For these reasons and the reasons stated in its Opposition, Teso respectfully requests that

 the Court deny Luminati’s Motion.




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 Dated: December 9, 2019            Respectfully submitted,



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                                CERTIFICATE OF SERVICE

        The undersigned certifies that the foregoing document was filed electronically in compli-
 ance with Local Rule CV-5(a) on December 9, 2019. As such, this document was served on all
 counsel who are deemed to have consented to electronic service. Local Rule CV-5(a)(3)(A).




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